                 Case 18-11801-LSS             Doc 55       Filed 08/06/18        Page 1 of 40



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


 In re:                                                               Chapter 11

 J & M SALES INC., et al.,                                            Case No. 18-11801 (LSS)

                                     Debtors.1                        Joint Administration Requested



                                        AFFIDAVIT OF SERVICE

       I, Herb Baer, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
the proposed claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.

        On August 6, 2018, at my direction and under my supervision, employees of Prime Clerk
caused the following documents to be served (1) by the method set forth the Core/2002 Service
List attached hereto as Exhibit A and (2) via Overnight Mail on the Secured Creditor/Lienholder
Service List attached hereto as Exhibit B:

     •    Notice of Hearing on First Day Motions [Docket No. 22] (the “Notice of Hearing”)

     •    Notice of Agenda for Hearing on First Day Motions Scheduled for August 7, 2018, at
          2:00 p.m. (prevailing Eastern Time), Before the Honorable Laurie Selber Silverstein,
          Bankruptcy Judge, at the United States Bankruptcy Court for the District of Delaware,
          Located at 824 North Market Street, 6th Floor, Courtroom No. 2, Wilmington, Delaware
          19801 [Docket No. 24] (the “Notice of Agenda”)

     •    Notice of Hearing on Debtors’ Motion for Entry of Interim and Final Orders (I)
          Authorizing Debtors and Debtors in Possession to Obtain Post-Petition Financing, (II)
          Authorizing Use of Cash Collateral, (III) Granting Liens and Super-Priority Claims, (IV)
          Granting Adequate Protection to Prepetition Lenders, (V) Modifying the Automatic Stay,
          (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Docket No. 23] (the
          “Notice of DIP Hearing”)

       On August 6, 2018, at my direction and under my supervision, employees of Prime Clerk
caused the Notice of Hearing and Notice of Agenda to be served (1) via Overnight Mail on the
Banks Service List attached hereto as Exhibit C, (2) via Overnight Mail on the Landlords




1.   Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: J & M Sales Inc. (4697); National Stores, Inc. (4874); J&M Sales of Texas, LLC (5979); FP
     Stores, Inc. (6795); Southern Island Stores, LLC (8099); Southern Island Retail Stores LLC (4237); Caribbean
     Island Stores, LLC (9301); Pazzo FNB Corp. (9870); Fallas Stores Holdings, Inc. (6052); and Pazzo
     Management LLC (1924). Debtors’ mailing address is 15001 South Figueroa Street, Gardena, CA 90248.
              Case 18-11801-LSS        Doc 55       Filed 08/06/18   Page 2 of 40



Service List attached hereto as Exhibit D and (3) by the method set forth on the Applicable
Governmental Units Service List attached hereto as Exhibit E.

       On August 6, 2018, at my direction and under my supervision, employees of Prime Clerk
caused the Notice of Hearing, the Notice of Agenda, the Notice of DIP Hearing and the
following documents to be served via Email on the Core/2002 Email Service List attached hereto
as Exhibit F:

   •   Motion of Debtors for Entry of Order Directing Joint Administration of Chapter 11 Cases
       [Docket No. 2]

   •   Declaration of Curt Kroll in Support of Debtors' Chapter 11 Petitions and First Day
       Motions [Docket No. 3]

   •   Application of Debtors for Order Authorizing Retention and Employment of Prime Clerk
       LLC as Claims and Noticing Agent to Debtors nunc pro tunc to the Petition Date [Docket
       No. 4]

   •   Motion of Debtors for an Order Authorizing Debtors to (I) File a Consolidated List of
       Creditors and (II) File a Consolidated List of Debtors' Thirty Creditors Holding Largest
       Unsecured Claims [Docket No. 5]

   •   Motion of Debtors for Entry of an Order Extending the Time within which Debtors Must
       File Their (I) Schedules of Assets and Liabilities; (II) Schedules of Executory Contracts
       and Unexpired Leases; and (III) Statements of Financial Affairs [Docket No. 6]

   •   Motion of Debtors for Interim and Final Orders (I) Authorizing (A) Continuation of
       Existing Cash Management System, (B) Maintenance of Existing Business Forms and
       Bank Accounts, (C) Continuation of Intercompany Transactions, and (D) Payment of
       Related Prepetition Obligations and (II) Waiving Requirements of Section 345(b) of
       Bankruptcy Code [Docket No. 7] (the “Cash Management Motion”)

   •   Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing, But Not
       Directing, Debtors to (A) Pay Certain Accrued Prepetition Wages, (B) Permit Employees
       to Use Accrued Prepetition Vacation Time, (C) Pay Employees' Prepetition Reimbursable
       Business Expenses, (D) Make Accrued Prepetition Contributions to Employee Benefit
       Plans, and (E) Continue Employee Benefit Plans Post-Petition; (II) Authorizing, But Not
       Directing, the Release of Withheld Taxes and Employee Contributions; and (III)
       Authorizing Related Relief [Docket No. 8] (the “Employee Wages Motion”)

   •   Motion of Debtors for Entry of Interim and Final Orders (A) Authorizing the Debtors to
       Obtain Postpetition Credit from Critical Vendors; (B) Approving Critical Vendor
       Program and Granting of Junior Liens to Critical Vendors; (C) Authorizing Banks to
       Honor and Process Related Checks and Electronic Transfers; (D) Scheduling a Final
       Hearing; and (E) Granting Related Relief [Docket No. 9] (the “Critical Vendors
       Motion”)


                                                2
          Case 18-11801-LSS        Doc 55       Filed 08/06/18   Page 3 of 40



•   Motion of Debtors for Interim and Final Orders (I) Authorizing Debtors to (A) Continue
    Insurance Programs and (B) Pay All Obligations with Respect Thereto; (II) Authorizing
    Banks and Financial Institutions to Honor and Process Related Checks and Transfers; and
    (III) Modifying the Automatic Stay with Respect to the Workers' Compensation Program
    [Docket No. 10] (the “Insurance Motion”)

•   Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Payment of
    Certain Prepetition Shipping Charges and (II) Granting Certain Related Relief [Docket
    No. 11]

•   Motion of Debtors for Entry of an Order (I) Authorizing Debtors to Honor Certain
    Prepetition Customer Programs in the Ordinary Course of Business; and (II) Granting
    Certain Related Relief [Docket No. 12]

•   Motion of Debtors for Interim and Final Orders (I) Authorizing Payment of Certain
    Prepetition Taxes and Assessments and (II) Authorizing Financial Institutions to Honor
    and Process Related Checks and Transfers [Docket No. 13] (the “Prepetition Tax
    Motion”)

•   Motion of Debtors for Interim and Final Orders (I) Approving Proposed Form of
    Adequate Assurance of Payment to Utility Companies, (II) Establishing Procedures for
    Resolving Objections by Utility Companies, and (III) Prohibiting Utility Companies from
    Altering, Refusing, or Discontinuing Service [Docket No. 14] (the “Utilities Motion”)

•   Debtors' Motion for Entry of Interim and Final Orders (A) Establishing Procedures for
    Resolving Reclamation Demands and (B) Granting Certain Related Relief [Docket No.
    15]

•   Debtors' Motion for Interim and Final Orders (I) Authorizing the Debtors to Assume the
    Consulting Agreement, (II) Authorizing and Approving the Conduct of Store Closing
    Sales, with Such Sales to be Free and Clear of All Liens, Claims, and Encumbrances, and
    (III) Granting Related Relief [Docket No. 16] (the “Store Closing Motion”)

•   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors and
    Debtors in Possession to Obtain Post-Petition Financing, (II) Authorizing Use of Cash
    Collateral, (III) Granting Liens and Super-Priority Claims, (IV) Granting Adequate
    Protection to Prepetition Lenders, (V) Modifying the Automatic Stay, (VI) Scheduling a
    Final Hearing, and (VII) Granting Related Relief [Docket No. 17] (the “DIP Financing
    Motion”)

•   Declaration of Marc Bilbao in Support of Debtors' Motions with Respect to DIP
    Financing, Critical Vendors and Store Closings [Docket No. 18]

•   Debtors' Motion for Entry of an Order Extending the Deadline to Assume or Reject
    Unexpired Leases of Nonresidential Real Property [Docket No. 19]




                                            3
                                                                                    SRF 26715
              Case 18-11801-LSS          Doc 55       Filed 08/06/18   Page 4 of 40



   • Notice of Filing of Exhibits A and B to Letter Agreement Governing Inventory
     Disposition in Connection with Debtors' Motion for Interim and Final Orders (I)
     Authorizing the Debtors to Assume the Consulting Agreement, (II) Authorizing and
     Approving the Conduct of Store Closing Sales, with Such Sales to be Free and Clear of
     All Liens, Claims, and Encumbrances, and (III) Granting Related Relief [Docket No. 21]
     (the "Notice of Filing of Exhibits")

        On August 6, 2018, at my direction and under my supervision, employees of Prime Clerk
caused (1) the Notice of Hearing, the Notice of Agenda, the Employee Wages Motion, the Cash
Management Motion, the Critical Vendors Motion, the Insurance Motion, the Prepetition Tax
Motion, and the Utilities Motion to be served via Email on the Banks Email Service List attached
hereto as Exhibit G, (2) the Notice of Hearing, the Notice of Agenda, Notice of DIP Hearing,
and DIP Financing Motion to be served by Email on the Secured Creditor/Lienholder Email
Service List attached hereto as Exhibit H, and (3) the Notice of Hearing, the Notice of Agenda,
the Store Closing Motion and the Notice of Filing of Exhibits to be served via Email on the
Applicable Governmental Units Email Service List attached hereto as Exhibit I.



Dated: August 6, 2018


State ofNew York
County ofNew York

Subscribed and sworn to (or affirmed) before me on August 6, 2018, by Herb Baer, proved to me
on the basis of satisfactory evidence to be the person who appeared before me.




              Oleg Bitman
    Notary Public, State of New York
           No. 01616339574
      Qualified in Queens County
   Commission Expires: April 04, 2Q.?O




                                                  4
                                                                                       SRF 26715
Case 18-11801-LSS   Doc 55   Filed 08/06/18   Page 5 of 40



                      Exhibit A
                                            Case 18-11801-LSS            Doc 55       Filed 08/06/18       Page 6 of 40
                                                                               Exhibit A
                                                                         Core/2002 Service List
                                                                        Served as set forth below

                  DESCRIPTION                                    NAME                                    ADDRESS                        FAX        METHOD OF SERVICE
                                                                                        Attn: Lester Jang
                                                                                        FLAT A2,10/F,BLOCK A PROFISIENT    
                                                                                        INDUSTRIAL CENTRE 6 WANG KWUN 
                                                                                        ROAD
Top 30 Largest Unsecured Creditors        3 WEIII Trading Company Limited               KOWLOON BAY HONG KONG                                    Overnight Mail
                                                                                        Attn: Tony Paz
                                                                                        2601 SEQUOIA DR.
Top 30 Largest Unsecured Creditors        American Retro                                SOUTH GATE CA 90280                                      Overnight Mail
                                                                                        Attn: Charles Armouth Levy
                                                                                        18 W 33RD STREET 5TH FL
Top 30 Largest Unsecured Creditors        Armouth International Inc.                    NEW YORK NY 10001                                        Overnight Mail
                                                                                        Attn: Mahesh Harwani and Lokesh 
                                                                                        Harwani
                                                                                        2600 W OLIVE AVE
Top 30 Largest Unsecured Creditors        Ascendance Apparels LLC                       BURBANK CA 91505                                         Overnight Mail
                                                                                        Attn: David L. Pollack, Esquire
                                                                                        51st Floor ‐ Mellon Bank Center
                                                                                        1735 Market Street
Counsel to Brixmor Property Group, Inc.   Ballard Spahr LLP                             Philadelphia PA 19103                     215‐864‐9473   Overnight Mail and Fax
                                                                                        Attn: Leslie Heilman, Esquire, Laurel D. 
                                                                                        Roglen, Esquire, Chantelle McClamb, 
                                                                                        Esquire
                                                                                        919 Market Street, 11th Floor
Counsel to Brixmor Property Group, Inc.   Ballard Spahr LLP                             Wilmington DE 19801                       302‐252‐4466   Overnight Mail and Fax

                                                                                        Attn: Rajesh Mirpuri
                                                                                        RAMA IMPEX, INC.
                                                                                        7664 SAN FERNANDO ROAD, UNIT 11
Top 30 Largest Unsecured Creditors        Basicline Inter Ltd.                          SUN VALLEY CA 91352                                      Overnight Mail
                                                                                        Attn: Rajesh Mirpuri
                                                                                        7764 SAN FERNANDO ROAD
                                                                                        UNIT 11
Top 30 Largest Unsecured Creditors        Bhama International Inc.                      SUN VALLEY CA 91352                                      Overnight Mail

       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                                 Page 1 of 6
                                                 Case 18-11801-LSS             Doc 55       Filed 08/06/18        Page 7 of 40
                                                                                     Exhibit A
                                                                               Core/2002 Service List
                                                                              Served as set forth below

                  DESCRIPTION                                     NAME                                         ADDRESS                 FAX        METHOD OF SERVICE
                                                                                              Attn: Nathan Shalom
                                                                                              77 SOUTH FIRST STREET
Top 30 Largest Unsecured Creditors             Children’s Apparel Network (Trend)             ELIZABETH NJ 07206‐1501                           Overnight Mail
                                                                                              Attn: Christina Yang
                                                                                              401 C OLD MILL ROAD
Top 30 Largest Unsecured Creditors              China Fortune LLC                             CARTERSVILLE GA 30120                             Overnight Mail
Counsel to Encina Business Credit, LLC, as                                                    Attn: Kevin J. Simard
Administrative Agent and Collateral Agent, one                                                Two International Place
of Debtors’ prepetition secured lenders         Choate Hall & Stewart LLP                     Boston MA 02110                    617‐248‐4000   Overnight Mail and Fax
                                                                                              Attn: Bankruptcy Department
                                                                                              Carvel State Office Building
                                                                                              820 N. French Street, 6th Floor
Delaware Attorney General                      Delaware Attorney General                      Wilmington DE 19801                302‐577‐6630   Overnight Mail and Fax
                                                                                              Attn: Zillah Frampton
                                                                                              820 N. French Street 
Delaware Division of Revenue                   Delaware Division of Revenue                   Wilmington DE 19801                302‐577‐8632   Overnight Mail and Fax
                                                                                              Corporations Franchise Tax
                                                                                              P.O. Box 898
Delaware Secretary of State                    Delaware Secretary of State                    Dover  DE 19903                    302‐739‐5831   Overnight Mail and Fax
                                                                                              Attn: Bankruptcy Department
                                                                                              820 Silver Lake Boulevard
                                                                                              Suite 100
Delaware State Treasury                        Delaware State Treasury                        Dover  DE 19904                    302‐739‐5635   Overnight Mail and Fax
                                                                                              Attn: Jack Imir
                                                                                              1019 EAST 46TH STREET
Top 30 Largest Unsecured Creditors             Estex Home Fashions/Dynamite Dec               BROOKLYN NY 11203‐6515                            Overnight Mail

                                                                                              Attn: Steven Pinkow
                                                                                              4000 CHEMICAL ROAD
                                                                                              SUITE 500
Top 30 Largest Unsecured Creditors             Fishman & Tobin Inc.                           PLYMOUTH MEETING PA 19462‐1708                    Overnight Mail




       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                                       Page 2 of 6
                                               Case 18-11801-LSS           Doc 55       Filed 08/06/18       Page 8 of 40
                                                                                 Exhibit A
                                                                           Core/2002 Service List
                                                                          Served as set forth below

                   DESCRIPTION                                     NAME                                   ADDRESS                     FAX        METHOD OF SERVICE
                                                                                          Attn: Ali Safawi and Lydia Coronado
                                                                                          16180 ORNELAS ST
Top 30 Largest Unsecured Creditors           Four Seasons Apparel Inc.                    IRWINDALE CA 91706                                   Overnight Mail
                                                                                          Attn: Lester Jang
                                                                                          FLAT A1 10/F BLOCK A PROFECIENT   
                                                                                          NO. 6
Top 30 Largest Unsecured Creditors           Global Accessories Manufacturing Co.         KOWLOON BAY                                          Overnight Mail
Counsel to Gordon Brothers Finance Company,                                               Attn: Jason DelMonico
as Administrative Agent, one of Debtors’                                                  10 St. James Avenue, 11th Floor
prepetition secured lenders                  Holland & Knight LLP                         Boston MA 02116                       617‐523‐6850   Overnight Mail and Fax
                                                                                          Attn: John Dovoudzadeh
                                                                                          1100 WEST WALNUT ST.
Top 30 Largest Unsecured Creditors           Hot Chocolate, Inc.                          COMPTON CA 90220                                     Overnight Mail
                                                                                          Attn: Isaac Ades
                                                                                          302 5TH AVE, 5TH FL
Top 30 Largest Unsecured Creditors           Idea Nuova Inc.                              NEW YORK NY 10001                                    Overnight Mail
                                                                                          Centralized Insolvency Operation
                                                                                          2970 Market Street
                                                                                          Mail Stop 5 Q30 133
IRS Insolvency Section                       Internal Revenue Service                     Philadelphia PA 19104‐5016            855‐235‐6787   Overnight Mail and Fax
                                                                                          Centralized Insolvency Operation
                                                                                          P.O. Box 7346
IRS Insolvency Section                       Internal Revenue Service                     Philadelphia PA 19101‐7346            855‐235‐6787   Overnight Mail and Fax
                                                                                          Attn: Mena Botros
                                                                                          FILE 98545
Top 30 Largest Unsecured Creditors           J.B. Hunt Transport Inc.                     LOS ANGELES CA 90074‐8545                            Overnight Mail
                                                                                          Attn: Joseph Hirsch
                                                                                          38‐60 BLANCHARD STREET
Top 30 Largest Unsecured Creditors           Julius Young Hosiery Inc.                    NEWARK NJ 07105‐4702                                 Overnight Mail
                                                                                          Attn: Harry Adjmi
                                                                                          1412 BROADWAY, 3RD FL
Top 30 Largest Unsecured Creditors           Kidz Concepts                                NEW YORK NY 10018                                    Overnight Mail



        In re: J & M Sales Inc., et al.
        Case No. 18‐11801 (LSS)                                                  Page 3 of 6
                                                  Case 18-11801-LSS             Doc 55       Filed 08/06/18      Page 9 of 40
                                                                                      Exhibit A
                                                                               Core/2002 Service List
                                                                              Served as set forth below

                   DESCRIPTION                                       NAME                                      ADDRESS                    FAX        METHOD OF SERVICE
                                                                                               Attn: Sonny Kafif
                                                                                               1384 BROADWAY, SUITE 801
Top 30 Largest Unsecured Creditors              Lorency & Co.                                  NEW YORK NY 10018                                   Overnight Mail
                                                                                               Attn: Abert Barnathan and Solomon 
                                                                                               Barnathan
                                                                                               1350 BROADWAY
Top 30 Largest Unsecured Creditors              Louise Paris Ltd.                              NEW YORK NY 10018                                   Overnight Mail
                                                                                               Attn: Pishu Mirani
                                                                                               206‐208 NEW EAST OCEAN CENTRE
                                                                                               9 SCIENCE MUSEUM ROAD
Top 30 Largest Unsecured Creditors              Metro Exports                                  T.S.T. KOWLOON HONG KONG                            Overnight Mail
                                                                                               Attn: Vijay Mohinani
                                                                                               918 CHEUNG SHA WAN RD. 
                                                                                               9/F ANGEL TOWER    
Top 30 Largest Unsecured Creditors              Multitex Limited                               KOWLOON HONG KONG                                   Overnight Mail
                                                                                               Attn: Daniel Srour
                                                                                               347 5TH AVENUE, 2ND FL
Top 30 Largest Unsecured Creditors              North Point Trading Inc.                       NEW YORK NY 10016                                   Overnight Mail
                                                                                               Attn: Neil Saada
                                                                                               1006 ELEVENTH AVENUE
Top 30 Largest Unsecured Creditors              Oceanic Trading Company                        NEPTUNE NJ 07753‐5174                               Overnight Mail
                                                                                               Attn: Rich Schepacarter, Esq.
                                                                                               844 King Street
                                                                                               Suite 2207
United States Trustee District of Delaware      Office of the United States Trustee            Wilmington DE 19801                                 Overnight Mail
                                                                                               Attn: Harry Adjmi
                                                                                               1412 BROADWAY 3RD FL
Top 30 Largest Unsecured Creditors               One Step Up Ltd.                              NEW YORK NY 10018                                   Overnight Mail
Counsel to Israel Discount Bank of New York, as                                                Attn: Daniel Fiorillo
co‐administrative agent and one of Debtors’                                                    230 Park Avenue
prepetition secured lenders                      Otterbourg P.C.                               New York NY 10169                    212‐682‐6104   Overnight Mail and Fax




        In re: J & M Sales Inc., et al.
        Case No. 18‐11801 (LSS)                                                       Page 4 of 6
                                               Case 18-11801-LSS           Doc 55      Filed 08/06/18      Page 10 of 40
                                                                                 Exhibit A
                                                                           Core/2002 Service List
                                                                          Served as set forth below

                  DESCRIPTION                                  NAME                                    ADDRESS                        FAX         METHOD OF SERVICE

                                                                                           Attn: Wang Ji
                                                                                           FLAT 1907,19TH FLOOR GREAT EAGLE   
                                                                                           CENTRE 23 HARBOUR ROAD   
Top 30 Largest Unsecured Creditors              PEM‐American (H.K.) Company Limited        WANCHAI HONG KONG                                    Overnight Mail
                                                                                           Attn: Mark D. Collins, Esq. and John 
                                                                                           Henry Knight, Esq.
Counsel to Encina Business Credit, LLC, as                                                 One Rodney Square
Administrative Agent and Collateral Agent, one                                             920 North King Street
of Debtors’ prepetition secured lenders         Richards, Layton & Finger, P.A.            Wilmington DE 19801                   302‐651‐7701   Overnight Mail and Fax
                                                                                           Attn: Rajesh   
                                                                                           262 W 38TH STREET  
                                                                                           SUITE #506
Top 30 Largest Unsecured Creditors              Ridhi Sidhi Enterprises LLC                NEW YORK NY 10018                                    Overnight Mail
                                                                                           Attn: Bhart Manwani
                                                                                           5601 DOWNEY RD.     
Top 30 Largest Unsecured Creditors              S & L Home Fashions                        VERNON CA 90058                                      Overnight Mail
                                                                                           Attn: Issac Kassin
                                                                                           347 5th AVENUE #201
Top 30 Largest Unsecured Creditors              Seven Apparel                              NEW YORK NY 10016                                    Overnight Mail
                                                                                           Attn: Victor A. Sahn, Esq.
                                                                                           333 South Hope Street, 35th Floor
Counsel to Michael Fallas                       SulmeyerKupetz, A Professional Corporation Los Angeles CA 90071                  213‐629‐4520   Overnight Mail and Fax
                                                                                           Attn: Albert Chehebar and JJ Gabay
                                                                                           1407 BROADWAY, 5TH FLOOR          
Top 30 Largest Unsecured Creditors              Trendset Originals LLC                     NEW YORK NY 10018                                    Overnight Mail
                                                                                           Attn: Saul Kredi
                                                                                           112 WEST 34TH STREET
Top 30 Largest Unsecured Creditors              Tuff Cookies                               NEW YORK NY 10001                                    Overnight Mail
                                                                                           950 Pennsylvania Avenue, NW
U.S. Department of Justice                      U.S. Department of Justice                 Washington DC 20530‐0001                             Overnight Mail




       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                                   Page 5 of 6
                                            Case 18-11801-LSS         Doc 55       Filed 08/06/18       Page 11 of 40
                                                                             Exhibit A
                                                                       Core/2002 Service List
                                                                      Served as set forth below

                   DESCRIPTION                              NAME                                       ADDRESS                       FAX        METHOD OF SERVICE
                                                                                      Attn: Charles Oberly
                                                                                      c/o Ellen Slights
                                                                                      1007 Orange Street, Suite 700, P.O. Box 
                                                                                      2046
US Attorney for the District of Delaware   US Attorney for Delaware                   Wilmington DE 19899‐2046                 302‐573‐6220   Overnight Mail and Fax




        In re: J & M Sales Inc., et al.
        Case No. 18‐11801 (LSS)                                              Page 6 of 6
Case 18-11801-LSS   Doc 55   Filed 08/06/18   Page 12 of 40



                       Exhibit B
                                                       Case 18-11801-LSS              Doc 55         Filed 08/06/18           Page 13 of 40
                                                                                              Exhibit B
                                                                                Secured Creditor/Lienholder Service List
                                                                                      Served via Overnight Mail
                NAME                                  ADDRESS 1                              ADDRESS 2                               ADDRESS 3                 CITY           STATE   POSTAL CODE
CSC, as Representative                   P.O. Box 2576                                                                                                    Springfield    IL           62708
Department of Industrial Relations, 
Division of Labor                        2031 Howe Avenue, Suite 100                                                                                      Sacramento CA               95825
                                         Tom Sullivan, John Whetstone, Jeff 
ENCINA BUSINESS CREDIT, LLC              Linstrom                              123 N Upper Wacker Dr Suite 2400                                           Chicago        IL           60606
GORDON BROTHERS FINANCE 
COMPANY                                  DAVID VEGA, JEFFERY RYAN,             CHRISTOPHER SANTOS, MARK FORTI              800 BOYLSTON ST ‐ 27TH FLOOR   BOSTON         MA           02199
Israel Discount Bank of NY               Maya Berkowitz , Gloria Serrano,      Bradly Stanza, Fernando Perez               511 Fifth Avenue               New York       NY           10017
Israel Discount Bank of NY               Mercedes Lara, Susie Gomez            888 S Figueroa 8th Floor                                                   Los Angeles    CA           90017
Jules and Associates                     515 S. Figueroa Street, Suite 1950                                                                               Los Angeles    CA           90071
Reich Bros. Business Solutions LLC       267 Central Ave.                                                                                                 White Plains   NY           10606
Susquehanna Commercial Finance           2 Country View Road, Suite 300                                                                                   Malvern        PA           19355
TCF Equipment Finance, Inc.              11100 Wayzata Blvd., Suite 801                                                                                   Minnetonka     MN           55305




       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                                                Page 1 of 1
Case 18-11801-LSS   Doc 55   Filed 08/06/18   Page 14 of 40



                       Exhibit C
                                      Case 18-11801-LSS         Doc 55    Filed 08/06/18   Page 15 of 40

                                                                   Exhibit C
                                                               Banks Service List
                                                           Served via Overnight Mail

                      NAME                ADDRESS 1                      ADDRESS 2           CITY    STATE POSTAL CODE
                 Santander Bank 75 State Street                                            Boston   MA     02109
                                Albert Torres Yolanda Santos 
                 Santander Bank Revera                            207 Ponce de Leon Ave San Juan PR        00917
                                                                                        San 
                 Wells Fargo      Fabien Perez                    420 Montgomery Street Francisco CA       94104




In re: J & M Sales Inc., et al.
Case No. 18‐11801 (LSS)                                             Page 1 of 1
Case 18-11801-LSS   Doc 55   Filed 08/06/18   Page 16 of 40



                       Exhibit D
                                                    Case 18-11801-LSS        Doc 55        Filed 08/06/18    Page 17 of 40
                                                                                   Exhibit D
                                                                               Landlords Service List
                                                                             Served via Overnight Mail

                 NAME                               ADDRESS 1                        ADDRESS 2                        ADDRESS 3              CITY       STATE    POSTAL CODE

101 115 W 116TH ST REALTY CORP    CO MITCHELL ENTERPRISES              2050 CENTER AVE R 510                                             FORT LEE      NJ       07024
                                  ATTN PRESIDENT OR GENERAL 
1204 CORPORATION                  COUNSEL                              6315 FORBES AVE                                                   PITTSBURGH PA          15217
                                  ATTN PRESIDENT OR GENERAL 
2619 REALTY HOLDING LLC           COUNSEL                              8585 COMMERCE PARK DR                STE 500                      HOUSTON       TX       77036
2720 2780 N MALL DRIVE HLDGS LLC  CWCAPITAL ASSET MANAGEMENT 
CO                                LLC                                  7501 WISCONSIN AVE 500 WEST                                       BETHESDA      MD       20814
                                                                                                                                         STATEN 
50 BROAD ST CORP                         CH MARTIN                     156 PORT RICHMOND                                                 ISLAND        NY       10302
                                         ATTN PRESIDENT OR GENERAL 
Amherst Station LLC                      COUNSEL                       33340 COLLECTION CENTER DRIVE                                     CHICAGO   IL           60693‐0333
                                         ATTN PRESIDENT OR GENERAL                                                                       WOODLAND 
AUZONE SANTA ANA LLC                     COUNSEL                       5850 CANOGA AVE                      SUITE 650                    HILLS     CA           91367
                                         ATTN PRESIDENT OR GENERAL 
BELAIR EDISON INVESTORS LLC              COUNSEL                       600 OLD COUNTRY RD                   SUITE 435                    GARDEN CITY NY         11530

BLDG ICS OLNEY LLC                       CO WRGUSA LLC                 8 INDUSTRIAL WAY EAST                SECOND FLOOR                 EATONTOWN NJ           07724
                                         ATTN PRESIDENT OR GENERAL 
BLDG MANAGEMENT CO INC                   COUNSEL                       417 FIFTH AVE 4TH FLOOR              SUITE 400                    NEW YORK      NY       10016
BRE Retail Residual NC Owner LP          co Brixmor Property Group     Attn General Counsel                 450 Lexington Ave Floor 13   New York      NY       10017
BRE Retail Residual NC Owner LP          co Brixmor Property Group     Attn VP of Legal Services            1003 Holcomb Woods Pkwy      Roswell       GA       30076
                                         ATTN: PRESIDENT OR GENERAL 
BRIXMOR SPE 3 LLC                        COUNSEL                       PO BOX 713547                                                     CINCINNATI    OH       45271
BRIXMOR SPE 3 LLC                        C/O BRIXMOR PROPERTY GROUP    PO BOX 645349                                                     CINCINNATI    OH       45264‐5349
                                         ATTN PRESIDENT OR GENERAL                                                                       SAN 
BYB 206 296 MAIN STREET LTD              COUNSEL                       4629 MACRO DRIVE                                                  ANTONIO       TX       78218
                                         ATTN: PRESIDENT OR GENERAL                                                                      PHILADELPHI
CB CHICAGO PARTNERS, LTD                 COUNSEL                       LOCKBOX 9947                         PO BOX 8500                  A             PA       19178‐9947
                                         CO ATHENA PROPERTY 
CCF PCG NORTHRIDGE LLC                   MANAGEMENT                    730 EL CAMINO WAY                    SUITE 200                    TUSTIN    CA           92780
                                                                                                                                         PORT 
                                                                                                                                         WASHINGTO
CEDAR JORDAN LANE LLC                    CO CEDAR REALTY TRUST INC     44 SOUTH BAYLES AVENUE                                            N         NY           11050




       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                                      Page 1 of 5
                                                     Case 18-11801-LSS            Doc 55         Filed 08/06/18    Page 18 of 40
                                                                                        Exhibit D
                                                                                    Landlords Service List
                                                                                  Served via Overnight Mail

                 NAME                                ADDRESS 1                            ADDRESS 2                       ADDRESS 3        CITY    STATE  POSTAL CODE
                                         ATTN: PRESIDENT OR GENERAL                                                                     FRAMINGHA
CONCORD BUYING GROUP INC                 COUNSEL                            PO BOX 9357                           LEASE ADMIN 300‐2AN   M         MA     01701
                                         ATTN PRESIDENT OR GENERAL 
COPPERFIELD CENTER PARTNERSHIP           COUNSEL                            204 C WEST WOODLAWN ROAD                                    CHARLOTTE NC      28217
DEL LLC                                  CO CA WHITE                        1211 CHAPEL ST                                              NEW HAVEN CT      06511
                                         ATTN PRESIDENT OR GENERAL 
EDGEWOOD STATION LLC                     COUNSEL                            2537 PAYSPEHERE CIRCLE                                      CHICAGO      IL   60674
ERT 163RD STREET MALL, LLC               C/O BRIXMOR PROPERTY GROUP         PO BOX 645321                                               CINCINATTI   OH   45264‐5321

FORDHAM VALENTINE ASSOCIATES             C/O JENEL MANAGEMENT CORP          PO BOX 11644                                                NEWARK    NJ      07101‐4644
                                                                                                                                        OKLAHOMA 
FRAYER ENTERPRISE, LLC                   ATTN: RIDGEWATER TEAM              PO BOX 892220                                               CITY      OK      73189
G&I IX EMPIRE DE CONSUMER 
SQUARE                                   CO DRA ADVISORS LLC                220 EAST 42ND ST 27TH FLOOR                                 NEW YORK     NY   10017
                                                                                                                                        WHITE 
G&I IX EMPIRE THRUWAY PLAZA LLC          C/O DLC MANAGEMENT CORP            PO BOX 5122                                                 PLAINS       NY   10602‐5122
                                         ATTN PRESIDENT OR GENERAL 
GB MALL LIMITED PARTNERSHIP              COUNSEL                            4912 DEL RAY AVE                                            BETHESDA     MD   20814

GERTZ PLAZA ACQUISITION 2 LLC            CO WHARTON REALTY GROUP LLC        8 INDUSTRIAL WAY E 2 FL                                     EATONTOWN NJ      07724
                                         ATTN: PRESIDENT OR GENERAL 
GRI EQY CONCORD LLC                      COUNSEL                            PO BOX 531703                                               ATLANTA      GA   30353‐1703
Hampton Towne Center LLC                 co The Shopping Center Group LLC   300 Galleria Parkway 12th Floor                             Atlanta      GA   30339
                                                                                                                                        WHITE 
HIGHLAND PLAZA IMPROVEMENTS              C/O DLC MANAGEMENT CORP.           PO BOX 5122                                                 PLAINS       NY   10602
                                         ATTN PRESIDENT OR GENERAL 
IRC RETAIL CENTERS LEASE 22352           COUNSEL                            75 REMITTANCE DRIVE                   DEPT 3128             CHICAGO      IL   60675‐3128
IRONDEQUOIT TK OWNER LLC                 CO JADD MANAGEMENT LLC             415 PARK AVEBUE                       KERRY STEVENS         ROCHESTER    NY   14607
                                         ATTN: PRESIDENT OR GENERAL 
JMWHP VISALIA LLC                        COUNSEL                            DEPT LA 22859                                               PASADENA     CA   91185‐2859
                                         ATTN PRESIDENT OR GENERAL 
KENSINGER & COMPANY LLC                  COUNSEL                            3300 CHIMNEY ROCK ROAD                SUITE 301             HOUSTON      TX   77056
                                                                                                                                        NEW HYDE 
KIMCO REALTY CORPORATION                 PLAZA DEL SOL 557 LLC              3333 NEW HYDE PARK RD SUITE 100                             PARK         NY   11042




       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                                            Page 2 of 5
                                                    Case 18-11801-LSS        Doc 55          Filed 08/06/18    Page 19 of 40
                                                                                   Exhibit D
                                                                               Landlords Service List
                                                                             Served via Overnight Mail

                 NAME                               ADDRESS 1                         ADDRESS 2                          ADDRESS 3       CITY          STATE    POSTAL CODE
                                                                                                                                     NEW HYDE 
KIMCO REALTY CORPORATION                 THE PRICE REIT INC             3333 NEW HYDE PARK ROAD SUITE 100                            PARK         NY           11042
KOP PERKINS FARM MARKETPLACE             ATTN: PRESIDENT OR GENERAL 
LLC                                      COUNSEL                        PO BOX 645346                         LEASE#4066001          CINCINNATI   OH           45264‐5346
                                         CO CENTRECORP MGMT SERVICES 
LAKEWOOD RETAIL LLC                      LLP                            1250 CAROLINE STREET SUITE C220                              ATLANTA      GA           30307
                                         ATTN PRESIDENT OR GENERAL                                                                   WALLED 
LINCOLN SHOPPING CENTER LLC              COUNSEL                        100 NORTH POND DR SUITE F                                    LAKE         MI           48390‐0838
                                         ATTN PRESIDENT OR GENERAL                                                                   FARMINTON 
MADISON CENTER OWNER LLC                 COUNSEL                        30500 NORTHWESTERN HIGHWAY            SUITE 200              HILLS        MI           48334
                                         ATTN PRESIDENT OR GENERAL                                                                   CHESTNUT 
MALWAY REALTY ASSOCIATES LP              COUNSEL                        33 BOYLSTON ST                        STE 3000               HILL         MA           02467
MARKET HALSEY URBAN RENEWAL 
LLC                              CO JJ OPERATING INC.                   112 WEST 34TH ST                      2106                   NEW YORK     NY           10120
                                 ATTN PRESIDENT OR GENERAL                                                                           SAN 
MGP IX PROPERTIES LLC            COUNSEL                                425 CALIFORNIA STREET 10TH FLOOR                             FRANCISCO    CA           94104
                                 ATTN PRESIDENT OR GENERAL 
NEW WESTGATE MALL LLC            COUNSEL                                OFFICE 200 WESTGATE DRIVE                                    BROCKTON     MA           02301‐
                                 ATTN PRESIDENT OR GENERAL 
NEWPORT CROSSING INVESTORS LLC COUNSEL                                  1840 MAIN STREET                      SUIT 204               WESTON    FL              33326
                                 ATTN PRESIDENT OR GENERAL                                                                           WOODLAND 
NMC UPLAND LLC                   COUNSEL                                5850 CANOGA AVENUE                    SUITE 650              HILLS     CA              91367
                                 ATTN PRESIDENT OR GENERAL 
NORTH & CICERO DEVELOPMENT LLC COUNSEL                                  4104 NORTH HARLEM AVE                                        NORRIDGE     IL           60706
NORTH RIVERSIDE PARK ASSOCIATES  ATTN PRESIDENT OR GENERAL 
LLC                              COUNSEL                                1525 W WT HARRIS BLVD                 PO BOX 601399          CHARLOTTE NC              28262
NORWALK TOWN SQUARE              ATTN PRESIDENT OR GENERAL                                                                           WOODLAND 
MANAGEMENT INC                   COUNSEL                                5850 CANOGA AVE                       SUITE 650              HILLS     CA              91367
OAKWOOD PLAZA LIMITED            ATTN: PRESIDENT OR GENERAL 
PARTNERSHIP                      COUNSEL                                PO BOX 6203                           DEPT CODE SFLH1150D    HICKSVILLE   NY           11802‐6203
                                                                                                                                     NEWPORT 
PDN RETAIL CENTER LP                     CO OPERON GROUP                4 UPPER NEWPORT PLAZA SUITE 100                              BEACH        CA           92660
                                         ATTN PRESIDENT OR GENERAL 
PJR PROPERTIES LLC                       COUNSEL                        2215 UNION AVENUE                                            SHEBOYGAN WI              53081




       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                                        Page 3 of 5
                                                   Case 18-11801-LSS          Doc 55         Filed 08/06/18    Page 20 of 40
                                                                                      Exhibit D
                                                                                Landlords Service List
                                                                              Served via Overnight Mail

              NAME                          ADDRESS 1                                  ADDRESS 2                        ADDRESS 3      CITY          STATE    POSTAL CODE
PRINCE WILLIAM SQUARE INVESTORS 
LLC                              CO ROSENTHAL PROPERTIES LLC            1945 OLD GALLOWS RD SUITE 300                               VIENNA      VA           22182
PROFESSIONAL PROPERTIES OF LAS 
VEGAS                            C/O REGENT PARTNERS, LLC               PO BOX 531461                                               HENDERSON   NV           89053
                                                                                                                                    WHITE 
PUTNAM PLACE IMPROVEMENTS, LLC    C/O DLC MANAGEMENT CORP               PO BOX 5122                                                 PLAINES     NY           10602
Ralphs                            Attn Legal                            1100 West Artesia Blvd                                      Compton     CA           90220
Ralphs                            Attn Property Management              1100 West Artesia Blvd                                      Compton     CA           90220
REFQUA LLC & OR JEWELRY CENTER    ATTN PRESIDENT OR GENERAL 
LLC                               COUNSEL                               1559 S SEPULVEDA BLVD                                       LOS ANGELES CA           90025
                                  ATTN PRESIDENT OR GENERAL 
REMO TARTAGLIA ASSOCIATES         COUNSEL                               477 MAIN ST                                                 MONROE      CT           06468
                                  ATTN: PRESIDENT OR GENERAL 
RETAIL CENTER PARTNERS LTD        COUNSEL                               NORTH MESA II                         PO BOX 849138         LOS ANGELES CA           90084‐9138
                                  ATTN PRESIDENT OR GENERAL 
ROCKAWAY REALTY ASSOCIATES LP     COUNSEL                               110 WEST 34TH ST 9TH FL                                     NEW YORK    NY           10001
                                  ATTN: PRESIDENT OR GENERAL                                                                        SAN 
S&S SHOPPING CENTERS,LTD          COUNSEL                               PO BOX 1863                                                 ANTONIO     TX           78297‐1863
                                  ATTN: PRESIDENT OR GENERAL 
SAUL SUBSIDIARY 1 LTD PARTNERSHIP COUNSEL                               PO BOX 38042                                                BALTIMORE   MD           21297‐8042
SFI FORD CITY CHICAGO LLC         ATTN LOCKBOX 26488                    26488 NETWORK PLACE                                         CHICAGO     IL           60673‐1264
                                  ATTN PRESIDENT OR GENERAL 
SHOP CITY PW LB LLC               COUNSEL                               244 WEST 39TH STREET                  FLOOR 4               NEW YORK    NY           10018
                                  ATTN: PRESIDENT OR GENERAL 
SILVERADO RANCH PLAZA, LLC        COUNSEL                               PO BOX 310605                                               DES MOINES IA            50331‐0605
                                  ATTN PRESIDENT OR GENERAL 
STARBOARD LEMON GROVE DST         COUNSEL                               19100 VON KARMAN AVE                  SUITE 340             IRVINE      CA           92612
                                  ATTN: PRESIDENT OR GENERAL                                                                        PHILADELPHI
STERIK BURBANK, LP                COUNSEL                               PO BOX 785822                                               A           PA           19178‐5822

SUNSTONE ARROYO LLC                      CO SUN PROPERTY MANAGEMENT     6140 BRENT THURMAN WAY                SUITE 140             LAS VEGAS   NV           89148
                                         CO NEWPORT CAPITAL PARTNERS 
TCB KEDZIE LLC                           HOLDIN                         350 N LASALLE ST                      SUITE 700             CHICAGO     IL           60654
                                         ATTN: PRESIDENT OR GENERAL 
TRC MM LLC                               COUNSEL                        P.O. BOX 840127                                             LOS ANGELES CA           90084‐0127


       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                                        Page 4 of 5
                                                   Case 18-11801-LSS          Doc 55        Filed 08/06/18    Page 21 of 40
                                                                                    Exhibit D
                                                                                Landlords Service List
                                                                              Served via Overnight Mail

                NAME                                ADDRESS 1                         ADDRESS 2                      ADDRESS 3           CITY      STATE    POSTAL CODE
                                        ATTN: PRESIDENT OR GENERAL 
TRC MM, LLC                             COUNSEL                          PO BOX 840128                                                LOS ANGELES CA       90084‐0128
                                        ATTN PRESIDENT OR GENERAL 
UE BRUCKNER SHOPS LLC                   COUNSEL                          210 ROUTE 4 EAST                                             PARAMUS     NJ       07652

UTICA MZL LLC                           CO KATZ PROPERTIES ACCTS RCVBL   254 WEST 31ST ST 4TH FLOOR                                   NEW YORK    NY       10001
WC MRP DES MOINES CENTER, LLC           ATTN: PRESIDENT OR GENERAL 
FOR CALUMET CENTER                      COUNSEL                          P.O. BOX 310525                                              DE MOINES   IA       50331‐0525
WESGOLD LLC                             CO GOLDENBERG GROUP LLC          350 SENTRY PARKWAY                  BUILDING 630 SUITE 300   BLUE BELL   PA       19422
                                                                                                                                      WHITE 
WESTERN LIGHTS PROPERTIES LLC           CO THE KEMPNER CORPORATION       257 MAMARONECK AVE                                           PLAINS      NY       10605
                                        ATTN PRESIDENT OR GENERAL                                                                     VIRGINIA 
WHLR JANAF LLC                          COUNSEL                          2529 VIRGINIA BEACH BLVD                                     BEACH       VA       23452
WOOD STONE IV HOLDINGS 
ROTTERDAM LL                            CO COLLIERS INTERNTL LB UNIT 607 5260 PARKWAY PLAZA BLVD             SUITE 110                CHARLOTTE   NC       28217




      In re: J & M Sales Inc., et al.
      Case No. 18‐11801 (LSS)                                                        Page 5 of 5
Case 18-11801-LSS   Doc 55   Filed 08/06/18   Page 22 of 40



                       Exhibit E
                                                                    Case 18-11801-LSS                           Doc 55              Filed 08/06/18                    Page 23 of 40
                                                                                                                            Exhibit E
                                                                                                             Applicable Governmental Units Service List
                                                                                                                     Served as set forth below



                          NAME                              ADDRESS 1                             ADDRESS 2                                   ADDRESS 3                 CITY            STATE   POSTAL CODE                   FAX                 METHOD OF SERVICE
Allegheny County Manager                      Attn Consumer Prtctn County Attny     436 Grant Street                                                               Pittsburgh      PA           15219                                          Overnight Mail
Amherst Erie County                           Attn Sliwa Stanley J Town Attorney    5583 Main St                                                                   Williamsville   NY           14221                                          Overnight Mail
Arizona Cnsmr Info and Complaints             Arizona Attorney GeneralTucson        400 W Congress St  South Bldg                Suite 315                         Tucson          AZ           85701‐1367    520‐628‐6530                     Overnight Mail and Fax
Broward Envmntl and Cnsmr Prtcn Div           Attn Consumer Protection              One N University Dr                                                            Plantation      FL           33324                                          Overnight Mail
Business Affairs and Consumer Prot            Attn General Counsel                  121 N LaSalle Street                         8th Floor                         Chicago         IL           60602         312‐744‐0246                     Overnight Mail and Fax
Cabarrus County                               Attn Consumer Prtctn County Attny     65 Church St S                                                                 Concord         NC           28025                                          Overnight Mail
City of Aurora                                Attn City Attorney                    44 E Downer Place                                                              Aurora          IL           60505                                          Overnight Mail

City of Baltimore                             Attn Baltimore City Law Department    Benjamin Bor                                 100 N Holliday Street Suite 101   Baltimore       MD           21202                                          Overnight Mail
City of Bridgeport                            Attn City Attorney                    City Attorney                                999 Broad Street 2nd Floor        Bridgeport      CT           06604         203‐576‐8252                     Overnight Mail and Fax
City of Brokton                               Attn City Attorney                    45 School Street                                                               Brokton         MA           02301                                          Overnight Mail
City of Buffalo                               Attn Corporation Counsel Law Dept     1100 City Hall                               65 Niagara Square                 Buffalo         NY           14202‐3331    716‐851‐4105                     Overnight Mail and Fax
City of Burbank                               Attn City Attorney, Amy Albano        275 East Olive Avenue                                                          Burbank         CA           91510‐6459    818‐238‐5724                     Overnight Mail and Fax
                                                                                                                                                                   Evergreen 
City of Calumet City                          Attn City Attorney                    co Odelson & Sterk                           3318 W 95th St                    Park            IL           60805         708‐424‐5755                     Overnight Mail and Fax

City of Cheektowaga                           Attn City Attorney                    Cheektowaga Town Hall                        3301 Broadway                     Cheektowaga NY               14227                                           Overnight Mail
                                                                                                                                                                                                              312‐744‐5185;  312‐744‐5186; 312‐
City of Chicago                               Attn City Attorney                    121 North LaSalle Street                     Suite 600                         Chicago         IL           60602         744‐5187; 312‐744‐5188            Overnight Mail and Fax
City of Cincinatti                            Attn City Attorney                    801 Plum St                                                                    Cincinatti      OH           45202                                           Overnight Mail
City of Concord                               Attn VaLerie Kolczynski City Attny    35 Cabarrus Ave W                                                              Concord         NC           28026‐0308                                      Overnight Mail
City of Eagle Pass                            Attn City Attorney                    100 S Monroe St                                                                Eagle Pass      TX           78852         830‐773‐9170                      Overnight Mail and Fax
City of Elizabeth                             Attn City Attorney                    50 Winfield Scott Plaza                                                        Elizabeth       NJ           07201                                           Overnight Mail
City of Elk Grove                             Attn City Attorneys Office            8401 Laguna Palms Way                                                          Elk Grove       CA           95758         916‐627‐4100                      Overnight Mail and Fax
City of Gastonia                              Attn City Attny Lloyd Ashley Smith    181 S South Street                                                             Gastonia        NC           28052                                           Overnight Mail
City of Grand Rapids                          Attn Anita Hitchcock City Attorney    300 Monroe Ave NW                                                              Grand Rapids    MI           49503‐2206                                      Overnight Mail
City of Greenbelt                             Attn Greenbelt City Attorney          25 Crescent Road                                                               Greenbelt       MD           20770         301‐441‐8248                      Overnight Mail and Fax
City of Hamden                                Attn City Attorney                    HAMDEN GOVERNMENT CENTER                     2750 DIXWELL AVENUE               HAMDEN          CT           06518                                           Overnight Mail
City of Hampton                               Attn City Attorney                    22 Lincoln Street                            8th Floor                         Hampton         VA           23669                                           Overnight Mail

City of Hanover Park                          Attn City Attorney                    2121 W Lake Street                                                             Hanover Park    IL           60133                                          Overnight Mail
City of Highland                              Attn City Attorney                    3333 Ridge Road                                                                Highland        IN           46322                                          Overnight Mail
City of Hollywood                             Attn City Attorney Douglas Gonzales   2600 Hollywood Boulevard                     Room 407                          Hollywood       FL           33022                                          Overnight Mail
City of Irondequoit                           Attn City Attorney                    1280 Titus Avenue                                                              Rochester       NY           14617                                          Overnight Mail
City of Kingman                               Attn Carl Cooper City Attorney        429 E Beale St                                                                 Kingman         AZ           86401         928‐753‐8007                     Overnight Mail and Fax
City of Lancaster                             Attn City Attorney                    44933 Fern Avenue                                                              Lancaster       CA           93534                                          Overnight Mail
City of Las Vegas                             Attn City Attorney                    Las Vegas City Hall                          495 S Main Street                 Las Vegas       NV           89101                                          Overnight Mail

City of Lemon Grove                           Attn City Attorney                    3232 Main Street                                                               Lemon Grove     CA           91945                                          Overnight Mail
City of Lompoc                                Attn City Attorney                    100 Civic Center Plaza                                                         Lompoc          CA           93436                                          Overnight Mail
City of Los Angeles                           Attn City Attorney                    James K Hahn City Hall East                  Suite 800                         Los Angeles     CA           90012         213‐978‐8340                     Overnight Mail and Fax
                                                                                                                                                                   Madison 
City of Madison Heights                       Attn City Attorney                    300 West Thirteen Mile Road                                                    Heights         MI           48071                                          Overnight Mail
City of Malden                                Attn City Attorney                    110 Pleasant Street                                                            Malden          MA           02148‐                                         Overnight Mail
City of Margate                               Attn City Attorney                    5790 Margate Boulevard                                                         Margate         FL           33063                                          Overnight Mail
City of Markham                               Attn City Attorney Steven Miller      16313 S Kedzie Parkway                                                         Markham         IL           60428                                          Overnight Mail
City of Miami                                 Attn City Attorney                    444 SW 2nd Avenue Suite 945                                                    Miami           FL           33130         305‐416‐1801                     Overnight Mail and Fax
City of Milwaukee                             Attn City Attorney Grant Langley      200 E Wells Street                           Room 800                          Milwaukee       WI           53202         414‐286‐8550                     Overnight Mail and Fax

City of Monterey Park CA                      Attn City Attorney Mark Hensley       320 West Newmark Ave                                                           Monterey Park CA             91754         626‐288‐6861                     Overnight Mail and Fax
City of New York                              New York City Law Department          Attn Corporation Counsel                     100 Church Street                 New York      NY             10007         212‐356‐1148                     Overnight Mail and Fax
City of Newark                                Attn Corp Counsel Kenyatta Stewart    920 Broad St Rm 316                                                            Newark        NJ             07102         973‐928‐1238                     Overnight Mail and Fax



            In re: J & M Sales Inc., et al.
            Case No. 18‐11801 (LSS)                                                                                          Page 1 of 4
                                                                    Case 18-11801-LSS                          Doc 55             Filed 08/06/18                Page 24 of 40
                                                                                                                          Exhibit E
                                                                                                           Applicable Governmental Units Service List
                                                                                                                   Served as set forth below



                          NAME                              ADDRESS 1                              ADDRESS 2                                ADDRESS 3             CITY        STATE   POSTAL CODE                   FAX     METHOD OF SERVICE
City of Norfolk                               Attn City Attorney                    810 Union Street                           Suite 900                     Norfolk         VA       23510                               Overnight Mail
                                                                                                                                                             North Las 
City of North Las Vegas                       Attn City Attorney Micaela CMoore     2250 Las Vegas Boulevard North                                           Vegas           NV       89030                               Overnight Mail
City of North Miami                           Attn City Attorney                    776 NE 125 Street 1st Floor                                              North Miami     FL       33161         305‐895‐7029          Overnight Mail and Fax
                                                                                                                                                             North 
City of North Riverside                       Attn City Attorney Steven Miller      2401 S DesPlaines Avenue                                                 Riverside       IL       60546                               Overnight Mail
City of Northridge                            LA City Attny Mike Feur               James K Hahn City Hall East                Suite 800                     Los Angeles     CA       90012         213‐978‐8340          Overnight Mail and Fax
City of Norwalk                               City Manager Jesus M Gomez            12700 Norwalk Boulevard                    Room 3                        Norwalk         CA       90650         562‐929‐5780          Overnight Mail and Fax
City of Oak Park                              Attn City Attorney                    14000 Oak Park Blvd                                                      Oak Park        MI       48237                               Overnight Mail
City of Oxnard                                Attn Office of the City Attorney      Attn LeAnne Daly                           300 West 3rd St               Oxnard          CA       93030         805‐385‐7595          Overnight Mail and Fax
City of Pasadena                              Attn City Attorney                    City Attorney                              1149 Ellsworth Dr             Pasadena        TX       77506                               Overnight Mail
City of Philadelphia                          Attn City Attorney                    1515 Arch St                                                             Philadelphia    PA       19102                               Overnight Mail
City of Phoenix                               Attn City Attorneys Office            200 West Washington Street                                               Phoenix         AZ       85003         602‐534‐9866          Overnight Mail and Fax
City of Pittsburgh                            Attn City Attorney                    414 Grant Street                                                         Pittsburgh      PA       15219                               Overnight Mail
City of Redford                               Attn City Attorney                    15145 Beech Daly Road                                                    Redford         MI       48239                               Overnight Mail
City of Richmond                              Attn City Attorney                    900 E Broad St, Suite 400                                                Richmond        VA       23219                               Overnight Mail
City of Rosenberg                             Attn City Attorney                    2110 4th Street                                                          Rosenberg       TX       77471‐0032    832‐595‐3333          Overnight Mail and Fax
City of Santa Ana                             Attn City Attorney Sonia R Carvalho   20 Civic Center Plaza M 29                                               Santa Ana       CA       92701                               Overnight Mail
City of Schenectady                           Attn City Attorney                    City Hall                                  105 Jay Street                Schenectady     NY       12305                               Overnight Mail
City of Southgate                             Attn City Attorney                    14400 Dix Toledo Rd                                                      Southgate       MI       48195                               Overnight Mail
City of Syracuse                              Attn City Attorney                    505 South State St                                                       Syracuse        NY       13202         315‐448‐8381          Overnight Mail and Fax
City of Utica                                 Attn Corporation Counsel              1 Kennedy Plaza                                                          Utica           NY       13502         315‐792‐0175          Overnight Mail and Fax

City of Virginia Beach                        Attn City Attorney Mark D Stiles      2401 Courthouse Dr                                                       Virginia Beach VA        23456         757‐385‐5687          Overnight Mail and Fax
City of Visalia                               Attn City Attorney                    220 N Santa Fe St                                                        Visalia        CA        93292         559‐713‐4800          Overnight Mail and Fax
City of West Haven                            Attn City Attorney                    Office of the Corporation Counsel          355 Main Street 3rd Floor     West Haven CT            06516‐        203‐937‐3616          Overnight Mail and Fax

City of Wethersfield                          Attn City Attorney                    505 Silas Deane Highway                                                  Wethersfield    CT       06109         860‐721‐2997          Overnight Mail and Fax

City of Woodbridge                            Attn Commonwealths Attorneys Office   9311 Lee Avenue Suite 200                                                Manassas        VA       20110                               Overnight Mail
City of Worcester                             Attn Law Department                   City Hall Room 301                         455 Main Street               Worcester       MA       01608         508‐799‐1163          Overnight Mail and Fax
Clark County                                  Attn Consumer Prtctn County Attny     500 S Grand Central Pkwy                                                 Las Vegas       NV       89155                               Overnight Mail
Commonwealth of Puerto Rico                   Attn Bankruptcy Department            Apartado 9020192                                                         San Juan        PR       00902‐0192    787‐729‐2059          Overnight Mail and Fax
Connecticut Attorney General                  Attn Bankruptcy Department            55 Elm St                                                                Hartford        CT       06106         860‐808‐5387          Overnight Mail and Fax

Connecticut Cnsmr Protection Div              Department of Consumer Protection     165 Capitol Ave                                                          Hartford        CT       06106‐1630    860‐713‐7239          Overnight Mail and Fax
DuPage County States Attorney                 Attn Consumer Protection              421 N County Farm Road                                                   Wheaton         IL       60187                               Overnight Mail
Erie County                                   Attn Consumer Prtctn County Attny     Edward A Rath County Office Bldng          95 Franklin Street            Buffalo         NY       14202                               Overnight Mail
Essex County Div of Citizen Svcs              Attn Consumer Protection              50 South Clinton Street                    Suite 5400                    East Orange     NJ       07018         973‐395‐8493          Overnight Mail and Fax
Florida Consumer Protection Div               Florida Attorney General              PL 01 The Capitol                                                        Tallahassee     FL       32399‐1050    850‐488‐5106          Overnight Mail and Fax
Fort Bend County                              Attn Consumer Prtctn County Attny     301 Jackson St First Floor                                               Richmond        TX       77469                               Overnight Mail
Gaston County                                 Attn Consumer Prtctn County Attny     Administrative Building                    128 W Main Avenue             Gastonia        NC       28052                               Overnight Mail

Georgia Consumer Protection Div               Georgia Governors Consumer Affairs    2 Martin Luther King Jr Dr SE              Suite 356                     Atlanta         GA       30334‐9077    404‐651‐9018          Overnight Mail and Fax

Hamilton County                               Attn Consumer Prtctn County Attny     County Administration Building             138 East Court Street Room 603 Cincinnati     OH       45202         513‐946‐4444          Overnight Mail and Fax
Harris County Attorneys Office                Attn Consumer Protection              1019 Congress, 15th Floor                                                 Houston        TX       77002         713‐755‐8924          Overnight Mail and Fax
Illinois Consumer Fraud Bureau                Illinois Attorney General Chicago     100 W Randolph St                                                         Chicago        IL       60601                               Overnight Mail
Indiana Consumer Protection Div               Office of the Attorney General        Government Center South 5th Floor          302 W Washington St            Indianapolis   IN       46204                               Overnight Mail
Kent County Administration                    Attn Consumer Prtctn County Attny     300 Monroe Avenue NW                                                      Grand Rapids   MI       49503                               Overnight Mail
LA County Dept of Consumer Affairs            Attn General Counsel                  500 W Temple St Room B96                                                  Los Angeles    CA       90012         213‐687‐1137          Overnight Mail and Fax
Lake County, Indiana                          Attn Consumer Prtctn County Attny     2293 N Main Street                                                        Crown Point    IN       46307                               Overnight Mail



            In re: J & M Sales Inc., et al.
            Case No. 18‐11801 (LSS)                                                                                        Page 2 of 4
                                                                       Case 18-11801-LSS                          Doc 55             Filed 08/06/18                  Page 25 of 40
                                                                                                                             Exhibit E
                                                                                                              Applicable Governmental Units Service List
                                                                                                                      Served as set forth below



                         NAME                                  ADDRESS 1                               ADDRESS 2                               ADDRESS 3               CITY        STATE   POSTAL CODE                   FAX     METHOD OF SERVICE
Maricopa County                                  Attn Consumer Prtctn County Attny     301 W Jefferson                            10th Floor                      Phoenix         AZ       85003                               Overnight Mail
Maryland Consumer Protection Div                 Maryland Attorney General             200 Saint Paul Pl                                                          Baltimore       MD       21202                               Overnight Mail
Massachusetts Attorney General                   Attn Bankruptcy Department            One Ashburton Place                                                        Boston          MA       02108‐1698                          Overnight Mail
Maverick County                                  Attn Consumer Protection              208 Converse Street                                                        Eagle Pass      TX       78852         830‐757‐2863          Overnight Mail and Fax
Mayors Office on Consumer Affairs                Attn Consumer Protection              City Hall                                                                  Philadelphia    PA       19107                               Overnight Mail

Milwaukee County                                 Attn Consumer Prtctn County Attny     Milwaukee County Courthouse Rm 306         901 N 9th Street                Milwaukee       WI       53233         414‐278‐1375          Overnight Mail and Fax
Mohave County                                    Attn Consumer Prtctn County Attny     700 W Beale Street                                                         Kingman         AZ       86402                               Overnight Mail
Monroe County                                    Attn Consumer Prtctn County Attny     110 County Office Building                 39 W Main St                    Rochester       NY       14614         585 753‐1014          Overnight Mail and Fax
Nevada Consumer Protection Div                   Nevada Business and Industry          Fight Fraud Task Force                     555 E Washington Ave            Las Vegas       NV       89101                               Overnight Mail
New Jersey Attorney General                      Attn Bankruptcy Department            RJ Hughes Justice Complex                  25 Market Street                Trenton         NJ       08625‐0080    609‐292‐3508          Overnight Mail and Fax

New Jersey Consumer Affairs Div                  Department of Law and Public Safety   124 Halsey St                                                              Newark          NJ       07102         973‐273‐8035          Overnight Mail and Fax
New York City Dept of Cnsmr Affairs              Attn Consumer Protection              42 Broadway                                                                New York        NY       10004         518‐473‐1654          Overnight Mail and Fax
New York Consumer Protection Div                 New York State Department of State    Consumer Assistance Unit                   99 Washington Avenue            Albany          NY       12231         518‐473‐1654          Overnight Mail

Newport News                                     Attn City Attorney                    2400 Washington Ave                                                        Newport News    VA       23607                               Overnight Mail
North Carolina Attny General                     Attn Bankruptcy Department            9001 Mail Service Center                                                   Raleigh         NC       27699‐9001    919‐716‐6750          Overnight Mail and Fax
Oakland County                                   Attn Consumer Prtctn County Attny     1200 N Telegraph Road                                                      Pontiac         MI       48341                               Overnight Mail
Office Distr Attny County of Tulare              Attn Consumer Protection              221 S Mooney Blvd Rm 224                                                   Visalia         CA       93291‐4593                          Overnight Mail
Office of Consumer Protection                    Attn General Counsel                  601 NW 1st Court 18th Floor                                                Miami           FL       33136         786‐469‐2303          Overnight Mail and Fax
Office of State Attny for Baltimore              Attn Consumer Protection              120 East Baltimore Street 9th Fl                                           Baltimore       MD       21202                               Overnight Mail
Office of the Middlesex Distr Attny              Attn Consumer Protection              15 Commonwealth Avenue                                                     Woburn          MA       01801‐        781‐897‐8301          Overnight Mail and Fax
Ohio Consumer Protection Sec                     Ohio Attorney Generals Office         30 E Broad St 14th Floor                                                   Columbus        OH       43215‐3400                          Overnight Mail

Oklahoma Consumer Protection Div                 Oklahoma Attorney General             Public Protection Unit                     313 NE 21st St                  Oklahoma City   OK       73105                               Overnight Mail
Oneida County Attorney                           Attn Consumer Protection              Oneida County Office Building              800 Park Avenue                 Utica           NY       13501         315‐798‐5603          Overnight Mail and Fax
Onondaga County Department of Law                Attn Consumer Protection              John H Mulroy Civic Center 10th FL         421 Montgomery Street           Syracuse        NY       13202                               Overnight Mail
Orange County District Attny                     Attn Consumer Protection              401 Civic Center Drive West                                                Santa Ana       CA       92701                               Overnight Mail
Pennsylvania Attorney General                    Attn Bankruptcy Department            Strawberry Square                          16th Floor                      Harrisburg      PA       17120         717‐787‐3391          Overnight Mail and Fax
                                                                                                                                                                  Upper 
Prince Georges County States Attny               Attn Consumer Protection              14735 Main Street                          Suite M3403                     Marlboro        MD       20772                               Overnight Mail

Prince William County Attnys Office              Attn Consumer Protection              One County Complex Court Suite 240                                         Prince William VA        22192                               Overnight Mail
Sacramento County District Attny                 Attn Consumer Protection Division     901 G Street                                                               Sacramento     CA        95814         916‐321‐2201          Overnight Mail and Fax
San Diego County District Attorney               Attn Consumer Protection Unit         Hall of Justice                            330 W Broadway                  San Diego      CA        92101         619‐237‐1351          Overnight Mail and Fax

Santa Barbara County Distr Attny                 Attn Consumer Protection Unit         1112 Santa Barbara Street                                                  Santa Barbara   CA       93101                               Overnight Mail
Schenectady Dept of Cnsmr Affairs                Attn Consumer Protection              130 Princetown Plaza                                                       Princetown      NY       12306                               Overnight Mail
State of Arizona Attorney General                Attn Bankruptcy Department            1275 W Washington St                                                       Phoenix         AZ       85007         602‐542‐4085          Overnight Mail and Fax
State of California Attorney General             Attn: Bankruptcy Department           P.O. Box 944255                                                            Sacramento      CA       94244‐2550    916‐323‐5341          Overnight Mail and Fax
State of California Cnsmr Info Div               California Consumer Affairs           1625 N Market Blvd Suite N 112                                             Sacramento      CA       95834                               Overnight Mail
State of Florida Attorney General                Attn Bankruptcy Department            The Capitol PL 01                                                          Tallahassee     FL       32399‐1050    850‐488‐4872          Overnight Mail and Fax
State of Georgia Attorney General                Attn Bankruptcy Department            40 Capital Square SW                                                       Atlanta         GA       30334‐1300    404‐657‐8733          Overnight Mail and Fax
State of Illinois Attorney General               Attn Bankruptcy Department            100 West Randolph Street                                                   Chicago         IL       60601                               Overnight Mail

State of Indiana Attorney General                Attn Bankruptcy Department            Indiana Government Center South            302 W Washington St 5th Floor   Indianapolis    IN       46204         317‐232‐7979          Overnight Mail and Fax
State of Maryland Attorney General               Attn Bankruptcy Department            200 St Paul Place                                                          Baltimore       MD       21202‐2202                          Overnight Mail
State of Mass Cnsmr Prtctn Div                   Massachusetts Attorney General        Public Inquiry and Assistance Centr        One Ashburton Pl 18th Floor     Boston          MA       02108‐1518                          Overnight Mail
State of Michigan Attorney General               Attn Bankruptcy Department            G Mennen Williams Building 7th Fl          525 W Ottawa St                 Lansing         MI       48909‐0212    517‐373‐3042          Overnight Mail and Fax

State of Michigan Consumer Protection Division   Office of the Attorney General        PO Box 30213                                                               Lansing         MI       48909‐7713    517‐373‐3042          Overnight Mail and Fax



           In re: J & M Sales Inc., et al.
           Case No. 18‐11801 (LSS)                                                                                            Page 3 of 4
                                                                            Case 18-11801-LSS                            Doc 55             Filed 08/06/18                Page 26 of 40
                                                                                                                                    Exhibit E
                                                                                                                     Applicable Governmental Units Service List
                                                                                                                             Served as set forth below



                         NAME                                       ADDRESS 1                                   ADDRESS 2                          ADDRESS 3                CITY      STATE   POSTAL CODE                  FAX     METHOD OF SERVICE
State of Nevada Attorney General                     Attn Bankruptcy Department               100 North Carson Street                                                  Carson City   NV       89701         775‐684‐1108         Overnight Mail and Fax
State of New Mexico Attorney General                 Attn: Bankruptcy Department              P.O. Drawer 1508                                                         Santa Fe      NM       87504‐1508    505‐827‐5826         Overnight Mail and Fax

State of New Mexico Consumer Protection Division     Office of Attorney General               PO Drawer 1508                                                           Santa Fe      NM       87504‐1508    505‐827‐5826         Overnight Mail and Fax
State of New York Attorney General                   Attn Bankruptcy Department               The Capitol                                                              Albany        NY       12224‐0341    866‐413‐1069         Overnight Mail and Fax
                                                     North Carolina Office of the Attorney 
State of North Carolina Consumer Protection Division General                                  Mail Service Center 9001                                                 Raleigh       NC       27699‐9001                         Overnight Mail
State of Ohio Attorney General                       Attn Bankruptcy Department               30 E Broad St 14th Floor                                                 Columbus      OH       43215                              Overnight Mail

State of Oklahoma Attorney General                   Attn Bankruptcy Department               313 NE 21st Street                                                       Oklahoma City OK       73105         405‐521‐6246         Overnight Mail and Fax
State of PA Bureau of Cnsmr Prtctn                   Office of the Attorney General           Strawberry Square 15th Floor                                             Harrisburg    PA       17120         717‐787‐8242         Overnight Mail and Fax
State of South Carolina Attorney General             Attn: Bankruptcy Department              P.O. Box 11549                                                           Columbia      SC       29211‐1549                         Overnight Mail
                                                     South Carolina Department of Consumer 
State of South Carolina Consumer Protection Division Affairs                                  PO Box 5757                                                              Columbia      SC       29250         803‐734‐4229         Overnight Mail and Fax
State of Texas Attorney General                      Attn: Bankruptcy Department              Capitol Station                            PO Box 12548                  Austin        TX       78711‐2548    512‐475‐2994         Overnight Mail and Fax

State of Texas Consumer Protection Division          Texas Office of the Attorney General     PO Box 12548                                                             Austin        TX       78711‐2548                         Overnight Mail
State of Virginia Attorney General                   Attn Bankruptcy Department               900 East Main Street                                                     Richmond      VA       23219         804‐225‐4378         Overnight Mail and Fax
State of Wisconsin Attorney General                  Attn Bankruptcy Department               Wisconsin Department of Justice            State Capitol Room 114 East   Madison       WI       53707‐7857    608‐267‐2779         Overnight Mail and Fax

State of Wisconsin Consumer Bureau of Consumer       Wisconsin Department of Agriculture, 
Protection                                           Trade and Consumer Protection            PO Box 8911                                                              Madison       WI       53708‐8911    608‐224‐5034         Overnight Mail and Fax
Suffolk County District Attorney                     Attn Consumer Protection                 One Bullfinch Place                                                      Boston        MA       02114                              Overnight Mail
Union County Dept of Public Safety                   Attn Consumer Protection                 400 North Avenue East                                                    Westfield     NJ       07090         908‐518‐7933         Overnight Mail and Fax
Ventura County District Attorney                     Attn Consumer Protection                 646 County Square Drive                                                  Ventura       CA       93003                              Overnight Mail
Virginia Consumer Protection Sec                     Virginia Attorney General                900 E Main St                                                            Richmond      VA       23219                              Overnight Mail
Wayne County                                         Attn Consumer Prtctn County Attny        Coleman A Young Municipal Center           2 Woodward Ave                Detroit       MI       48226                              Overnight Mail
Worcester County District Attny                      Attn Consumer Protection                 225 Main St G 301                                                        Worcester     MA       01608‐                             Overnight Mail




           In re: J & M Sales Inc., et al.
           Case No. 18‐11801 (LSS)                                                                                                   Page 4 of 4
Case 18-11801-LSS   Doc 55   Filed 08/06/18   Page 27 of 40



                       Exhibit F
                                          Case 18-11801-LSS               Doc 55       Filed 08/06/18          Page 28 of 40
                                                                                Exhibit F
                                                                        Core/2002 Email Service List
                                                                             Served via Email

                   DESCRIPTION                                   NAME                                          ADDRESS                                   EMAIL
                                                                                              Attn: Lester Jang
                                                                                              FLAT A2,10/F,BLOCK A PROFISIENT    
                                                                                              INDUSTRIAL CENTRE 6 WANG KWUN 
                                                                                              ROAD
Top 30 Largest Unsecured Creditors        3 WEIII Trading Company Limited                     KOWLOON BAY HONG KONG                       lesterjang@yahoo.com
                                                                                              Attn: Tony Paz
                                                                                              2601 SEQUOIA DR.
Top 30 Largest Unsecured Creditors        American Retro                                      SOUTH GATE CA 90280                         tony@caoffprice.com
                                                                                              Attn: Charles Armouth Levy
                                                                                              18 W 33RD STREET 5TH FL
Top 30 Largest Unsecured Creditors        Armouth International Inc.                          NEW YORK NY 10001                           charlie@armouth.com
                                                                                              Attn: Mahesh Harwani and Lokesh 
                                                                                              Harwani
                                                                                              2600 W OLIVE AVE                            maheshh@ascendanceapparels.com
Top 30 Largest Unsecured Creditors        Ascendance Apparels LLC                             BURBANK CA 91505                            lokeshh@asianmarl.tw
                                                                                              Attn: David L. Pollack, Esquire
                                                                                              51st Floor ‐ Mellon Bank Center
                                                                                              1735 Market Street
Counsel to Brixmor Property Group, Inc.   Ballard Spahr LLP                                   Philadelphia PA 19103                       pollack@ballardspahr.com
                                                                                              Attn: Leslie Heilman, Esquire, Laurel D. 
                                                                                              Roglen, Esquire, Chantelle McClamb, 
                                                                                              Esquire                                     heilmanl@ballardspahr.com
                                                                                              919 Market Street, 11th Floor               roglenl@ballardspahr.com
Counsel to Brixmor Property Group, Inc.   Ballard Spahr LLP                                   Wilmington DE 19801                         mcclambc@ballardspahr.com

                                                                                              Attn: Rajesh Mirpuri
                                                                                              RAMA IMPEX, INC.
                                                                                              7664 SAN FERNANDO ROAD, UNIT 11
Top 30 Largest Unsecured Creditors        Basicline Inter Ltd.                                SUN VALLEY CA 91352                         rajesh@basicline.com.hk




       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                                  Page 1 of 6
                                               Case 18-11801-LSS              Doc 55       Filed 08/06/18         Page 29 of 40
                                                                                    Exhibit F
                                                                            Core/2002 Email Service List
                                                                                 Served via Email

                   DESCRIPTION                                    NAME                                             ADDRESS                          EMAIL
                                                                                                  Attn: Rajesh Mirpuri
                                                                                                  7764 SAN FERNANDO ROAD
                                                                                                  UNIT 11
Top 30 Largest Unsecured Creditors             Bhama International Inc.                           SUN VALLEY CA 91352               rajesh@basicline.com.hk
                                                                                                  Attn: Nathan Shalom
                                                                                                  77 SOUTH FIRST STREET
Top 30 Largest Unsecured Creditors             Children’s Apparel Network (Trend)                 ELIZABETH NJ 07206‐1501           nathan@childapp.com
                                                                                                  Attn: Christina Yang
                                                                                                  401 C OLD MILL ROAD
Top 30 Largest Unsecured Creditors              China Fortune LLC                                 CARTERSVILLE GA 30120             Christina.yang@chinafortunellc.com
Counsel to Encina Business Credit, LLC, as                                                        Attn: Kevin J. Simard
Administrative Agent and Collateral Agent, one                                                    Two International Place
of Debtors’ prepetition secured lenders         Choate Hall & Stewart LLP                         Boston MA 02110                   ksimard@choate.com
                                                                                                  Attn: Bankruptcy Department
                                                                                                  Carvel State Office Building
                                                                                                  820 N. French Street, 6th Floor
Delaware Attorney General                      Delaware Attorney General                          Wilmington DE 19801               attorney.general@state.de.us
                                                                                                  Attn: Zillah Frampton
                                                                                                  820 N. French Street 
Delaware Division of Revenue                   Delaware Division of Revenue                       Wilmington DE 19801               FASNotify@state.de.us
                                                                                                  Corporations Franchise Tax
                                                                                                  P.O. Box 898
Delaware Secretary of State                    Delaware Secretary of State                        Dover  DE 19903                   dosdoc_Ftax@state.de.us
                                                                                                  Attn: Bankruptcy Department
                                                                                                  820 Silver Lake Boulevard
                                                                                                  Suite 100
Delaware State Treasury                        Delaware State Treasury                            Dover  DE 19904                   statetreasurer@state.de.us
                                                                                                  Attn: Jack Imir
                                                                                                  1019 EAST 46TH STREET
Top 30 Largest Unsecured Creditors             Estex Home Fashions/Dynamite Dec                   BROOKLYN NY 11203‐6515            jack@estexhome.com




       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                                      Page 2 of 6
                                             Case 18-11801-LSS              Doc 55       Filed 08/06/18        Page 30 of 40
                                                                                  Exhibit F
                                                                          Core/2002 Email Service List
                                                                               Served via Email

                   DESCRIPTION                                     NAME                                       ADDRESS                                EMAIL

                                                                                                Attn: Steven Pinkow
                                                                                                4000 CHEMICAL ROAD
                                                                                                SUITE 500
Top 30 Largest Unsecured Creditors           Fishman & Tobin Inc.                               PLYMOUTH MEETING PA 19462‐1708        stevenpinkow@globalbrandsgroup.com
                                                                                                Attn: Ali Safawi and Lydia Coronado
                                                                                                16180 ORNELAS ST                      asafawi@fourseasonsapparel.net
Top 30 Largest Unsecured Creditors           Four Seasons Apparel Inc.                          IRWINDALE CA 91706                    lcoronado@fourseasonsapparel.net
                                                                                                Attn: Lester Jang
                                                                                                FLAT A1 10/F BLOCK A PROFECIENT   
                                                                                                NO. 6
Top 30 Largest Unsecured Creditors           Global Accessories Manufacturing Co.               KOWLOON BAY                           lesterjang@yahoo.com
Counsel to Gordon Brothers Finance Company,                                                     Attn: Jason DelMonico
as Administrative Agent, one of Debtors’                                                        10 St. James Avenue, 11th Floor
prepetition secured lenders                  Holland & Knight LLP                               Boston MA 02116                       Jason.DelMonico@hklaw.com
                                                                                                Attn: John Dovoudzadeh
                                                                                                1100 WEST WALNUT ST.
Top 30 Largest Unsecured Creditors           Hot Chocolate, Inc.                                COMPTON CA 90220                      hotchocolateinc@yahoo.com
                                                                                                Attn: Isaac Ades
                                                                                                302 5TH AVE, 5TH FL
Top 30 Largest Unsecured Creditors           Idea Nuova Inc.                                    NEW YORK NY 10001                     isaac@ideanuova.com
                                                                                                Attn: Mena Botros
                                                                                                FILE 98545
Top 30 Largest Unsecured Creditors           J.B. Hunt Transport Inc.                           LOS ANGELES CA 90074‐8545             mena.botros@jbhunt.com
                                                                                                Attn: Joseph Hirsch
                                                                                                38‐60 BLANCHARD STREET
Top 30 Largest Unsecured Creditors           Julius Young Hosiery Inc.                          NEWARK NJ 07105‐4702                  Joseph@juliusyoung.com
                                                                                                Attn: William Freeman, Karen Dine, 
                                                                                                Jerry Hall                            bill.freeman@kattenlaw.com
                                                                                                575 Madison Avenue                    karen.dine@kattenlaw.com
Counsel to Debtors                           Katten Muchin Rosenman LLP                         New York NY 10022                     jerry.hall@kattenlaw.com



       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                                    Page 3 of 6
                                             Case 18-11801-LSS            Doc 55         Filed 08/06/18         Page 31 of 40
                                                                                   Exhibit F
                                                                        Core/2002 Email Service List
                                                                             Served via Email

                   DESCRIPTION                                   NAME                                            ADDRESS                             EMAIL
                                                                                                 Attn: Harry Adjmi
                                                                                                 1412 BROADWAY, 3RD FL
Top 30 Largest Unsecured Creditors           Kidz Concepts                                       NEW YORK NY 10018                    hadjmi@onestepup.com
                                                                                                 Attn: Sonny Kafif
                                                                                                 1384 BROADWAY, SUITE 801
Top 30 Largest Unsecured Creditors           Lorency & Co.                                       NEW YORK NY 10018                    sonny@lorency.com
                                                                                                 Attn: Abert Barnathan and Solomon 
                                                                                                 Barnathan
                                                                                                 1350 BROADWAY                        abarnathan@aol.com
Top 30 Largest Unsecured Creditors           Louise Paris Ltd.                                   NEW YORK NY 10018                    solomon@louiseparis.com
                                                                                                 Attn: Pishu Mirani
                                                                                                 206‐208 NEW EAST OCEAN CENTRE
                                                                                                 9 SCIENCE MUSEUM ROAD
Top 30 Largest Unsecured Creditors           Metro Exports                                       T.S.T. KOWLOON HONG KONG             pishu@metroexp.com
                                                                                                 Attn: Rachel B. Mersky, Esquire
Counsel to Oakwood Plaza Limited Partnership,  Monzack Mersky Mclaughlin and                     1201 N. Orange Street, Suite 400
The Price REIT, Inc. and Plaza Del Sol 557, LLC Browder, P.A.                                    Wilmington DE 19801                  rmersky@monlaw.com
                                                                                                 Attn: Vijay Mohinani
                                                                                                 918 CHEUNG SHA WAN RD. 
                                                                                                 9/F ANGEL TOWER    
Top 30 Largest Unsecured Creditors           Multitex Limited                                    KOWLOON HONG KONG                    vijay@masonglobal.com
                                                                                                 Attn: Daniel Srour
                                                                                                 347 5TH AVENUE, 2ND FL
Top 30 Largest Unsecured Creditors           North Point Trading Inc.                            NEW YORK NY 10016                    danielj@nptrd.com
                                                                                                 Attn: Neil Saada
                                                                                                 1006 ELEVENTH AVENUE
Top 30 Largest Unsecured Creditors           Oceanic Trading Company                             NEPTUNE NJ 07753‐5174                neil@oceanictradingco.com
                                                                                                 Attn: Rich Schepacarter, Esq.
                                                                                                 844 King Street
                                                                                                 Suite 2207
United States Trustee District of Delaware   Office of the United States Trustee                 Wilmington DE 19801                  Richard.Schepacarter@usdoj.gov



       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                                     Page 4 of 6
                                                Case 18-11801-LSS               Doc 55       Filed 08/06/18         Page 32 of 40
                                                                                      Exhibit F
                                                                              Core/2002 Email Service List
                                                                                   Served via Email

                   DESCRIPTION                                       NAME                                           ADDRESS                                   EMAIL
                                                                                                    Attn: Harry Adjmi
                                                                                                    1412 BROADWAY 3RD FL
Top 30 Largest Unsecured Creditors               One Step Up Ltd.                                   NEW YORK NY 10018                       hadjmi@onestepup.com
Counsel to Israel Discount Bank of New York, as                                                     Attn: Daniel Fiorillo
co‐administrative agent and one of Debtors’                                                         230 Park Avenue
prepetition secured lenders                      Otterbourg P.C.                                    New York NY 10169                       dfiorillo@otterbourg.com
                                                                                                    Attn: Richard M. Pachulski, Peter J. 
                                                                                                    Keane
                                                                                                    919 North Market Street, 17th Floor
                                                                                                    P.O. Box 8705                           rpachulski@pszjlaw.com
Counsel to Debtors                              Pachulski Stang Ziehl & Jones LLP                   Wilmington DE 19899                     pkeane@pszjlaw.com

                                                                                                    Attn: Wang Ji
                                                                                                    FLAT 1907,19TH FLOOR GREAT EAGLE   
                                                                                                    CENTRE 23 HARBOUR ROAD   
Top 30 Largest Unsecured Creditors              PEM‐American (H.K.) Company Limited                 WANCHAI HONG KONG                       pemam314@outlook.com
                                                                                                    Attn: Mark D. Collins, Esq. and John 
                                                                                                    Henry Knight, Esq.
Counsel to Encina Business Credit, LLC, as                                                          One Rodney Square
Administrative Agent and Collateral Agent, one                                                      920 North King Street                   collins@rlf.com
of Debtors’ prepetition secured lenders         Richards, Layton & Finger, P.A.                     Wilmington DE 19801                     knight@rlf.com
                                                                                                    Attn: Rajesh   
                                                                                                    262 W 38TH STREET  
                                                                                                    SUITE #506
Top 30 Largest Unsecured Creditors              Ridhi Sidhi Enterprises LLC                         NEW YORK NY 10018                       ridhisidhi402@gmail.com
                                                                                                    Attn: Bhart Manwani
                                                                                                    5601 DOWNEY RD.     
Top 30 Largest Unsecured Creditors              S & L Home Fashions                                 VERNON CA 90058                         bmanwani@slhomefashions.com
                                                                                                    Attn: Issac Kassin
                                                                                                    347 5th AVENUE #201
Top 30 Largest Unsecured Creditors              Seven Apparel                                       NEW YORK NY 10016                       isaacm@nptrd.com



       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                                        Page 5 of 6
                                           Case 18-11801-LSS          Doc 55       Filed 08/06/18     Page 33 of 40
                                                                            Exhibit F
                                                                    Core/2002 Email Service List
                                                                         Served via Email

                   DESCRIPTION                               NAME                                      ADDRESS                                  EMAIL
                                                                                      Attn: Victor A. Sahn, Esq.
                                                                                      333 South Hope Street, 35th Floor
Counsel to Michael Fallas                  SulmeyerKupetz, A Professional Corporation Los Angeles CA 90071                       vsahn@sulmeyerlaw.com
                                                                                      Attn: Albert Chehebar and JJ Gabay
                                                                                      1407 BROADWAY, 5TH FLOOR                   Albertc@skiva.com
Top 30 Largest Unsecured Creditors         Trendset Originals LLC                     NEW YORK NY 10018                          jj@skiva.com
                                                                                      Attn: Saul Kredi
                                                                                      112 WEST 34TH STREET
Top 30 Largest Unsecured Creditors         Tuff Cookies                               NEW YORK NY 10001                          Saul@tuffcookies.com
                                                                                      Attn: Charles Oberly
                                                                                      c/o Ellen Slights
                                                                                      1007 Orange Street, Suite 700, P.O. Box 
                                                                                      2046
US Attorney for the District of Delaware   US Attorney for Delaware                   Wilmington DE 19899‐2046                   usade.ecfbankruptcy@usdoj.gov




       In re: J & M Sales Inc., et al.
       Case No. 18‐11801 (LSS)                                              Page 6 of 6
Case 18-11801-LSS   Doc 55   Filed 08/06/18   Page 34 of 40



                       Exhibit G
                                      Case 18-11801-LSS      Doc 55      Filed 08/06/18   Page 35 of 40

                                                                  Exhibit G
                                                            Banks Email Service List
                                                               Served via Email

                       NAME                     ADDRESS 1                                        EMAIL
                  Santander Bank Albert Torres, Yolanda Santos Revera      atr@santander.pr; yolanda.santos@santander.pr
                  Wells Fargo    Fabien Perez                              Fabien.Perez@wellsfargo.com




In re: J & M Sales Inc., et al.
Case No. 18‐11801 (LSS)                                           Page 1 of 1
Case 18-11801-LSS   Doc 55   Filed 08/06/18   Page 36 of 40



                       Exhibit H
                                     Case 18-11801-LSS      Doc 55      Filed 08/06/18     Page 37 of 40

                                                                 Exhibit H
                                                Secured Creditor/Lienholder Email Service List
                                                              Served via Email

                        NAME                              ADDRESS 1                                            EMAIL

                                          Tom Sullivan, John Whetstone, Jeff             tsullivan@encinabc.com; jwhetstone@encinabc.com; 
ENCINA BUSINESS CREDIT, LLC               Linstrom                                       jlinstrom@encinabc.com
                                          DAVID VEGA, JEFFERY RYAN, CHRISTOPHER          dvega@gbfinco.com; jryan@gbfinco.com; 
GORDON BROTHERS FINANCE COMPANY           SANTOS, MARK FORTI                             csantos@gbfinco.com; mforti@gbfinco.com
                                                                                         mberkowitz@idbny.com; gserrano@idbny.com; 
Israel Discount Bank of NY                Maya Berkowitz , Gloria Serrano,               bstanza@idbny.com; fperez@idbny.com




   In re: J & M Sales Inc., et al.
   Case No. 18‐11801 (LSS)                                       Page 1 of 1
Case 18-11801-LSS   Doc 55   Filed 08/06/18   Page 38 of 40



                       Exhibit I
                                         Case 18-11801-LSS     Doc 55      Filed 08/06/18     Page 39 of 40

                                                                     Exhibit I
                                                  Applicable Governmental Units Email Service List
                                                                 Served via Email
                                  NAME                                    ADDRESS 1                                  EMAIL
         Amherst Erie County                                Attn Sliwa Stanley J Town Attorney       ssliwa@amherst.ny.us
         Arizona Cnsmr Info and Complaints                  Arizona Attorney GeneralTucson           consumerinfo@azag.gov
         City of Brokton                                    Attn City Attorney                       law@cobma.us
         City of Cheektowaga                                Attn City Attorney                       lawweb@tocny.org
         City of Concord                                    Attn VaLerie Kolczynski City Attny       kolczynv@concordnc.gov
         City of Elizabeth                                  Attn City Attorney                       WHolzapfel@ElizabethNJ.org
         City of Gastonia                                   Attn City Attny Lloyd Ashley Smith       ashs@cityofgastonia.com
         City of Grand Rapids                               Attn Anita Hitchcock City Attorney       cityatty@grcity.us
         City of Hamden                                     Attn City Attorney                       sgruen@hamden.com
         City of Madison Heights                            Attn City Attorney                       larryhsherman@shermanpc.com
         City of Malden                                     Attn City Attorney                       Danthony@cityofmalden.org
         City of Oxnard                                     Attn Office of the City Attorney         leanne.daly@oxnard.org
         City of Schenectady                                Attn City Attorney                       cfalotico@schenectadyny.gov
         City of Syracuse                                   Attn City Attorney                       Law@SyrGov.net
         City of Utica                                      Attn Corporation Counsel                 ulaw@cityofutica.com
         City of West Haven                                 Attn City Attorney                       ltiernan@westhaven‐ct.gov
         City of Worcester                                  Attn Law Department                      law@worcesterma.gov
         Connecticut Attorney General                       Attn Bankruptcy Department               attorney.general@po.state.ct.us

         Connecticut Cnsmr Protection Div                   Department of Consumer Protection        dcp.frauds@ct.gov
         Maryland Consumer Protection Div                   Maryland Attorney General                consumer@oag.state.md.us
         Massachusetts Attorney General                     Attn Bankruptcy Department               ago@state.ma.us
         New Jersey Attorney General                        Attn Bankruptcy Department               askconsumeraffairs@lps.state.nj.us 

         New Jersey Consumer Affairs Div                    Department of Law and Public Safety askconsumeraffairs@lps.state.nj.us

         New York Consumer Protection Div                   New York State Department of State corporations@dos.ny.gov
         Office of Consumer Protection                      Attn General Counsel               consumer@miamidade.gov

In re: J & M Sales Inc., et al.
Case No. 18‐11801 (LSS)                                             Page 1 of 2
                                     Case 18-11801-LSS         Doc 55      Filed 08/06/18     Page 40 of 40

                                                                     Exhibit I
                                                  Applicable Governmental Units Email Service List
                                                                 Served via Email
                                 NAME                                    ADDRESS 1                                   EMAIL
         Oneida County Attorney                             Attn Consumer Protection                 countyattorney@ocgov.net
         Sacramento County District Attny                   Attn Consumer Protection Division        daoffice@sacda.org
         State of Arizona Attorney General                  Attn Bankruptcy Department               aginfo@azag.gov
         State of California Attorney General               Attn: Bankruptcy Department              bankruptcy@coag.gov
         State of California Cnsmr Info Div                 California Consumer Affairs              dca@dca.ca.gov
         State of Georgia Attorney General                  Attn Bankruptcy Department               AGOlens@law.ga.gov
         State of Illinois Attorney General                 Attn Bankruptcy Department               webmaster@atg.state.il.us 
         State of Indiana Attorney General                  Attn Bankruptcy Department               Constituent@atg.in.gov
         State of Maryland Attorney General                 Attn Bankruptcy Department               oag@oag.state.md.us 
         State of Mass Cnsmr Prtctn Div                     Massachusetts Attorney General           ago@state.ma.us
         State of Michigan Attorney General                 Attn Bankruptcy Department               miag@michigan.gov

         State of Michigan Consumer Protection Division     Office of the Attorney General           miag@michigan.gov
         State of Nevada Attorney General                   Attn Bankruptcy Department               AgInfo@ag.nv.gov
         State of New Mexico Attorney General               Attn: Bankruptcy Department              publicinformationoff@nmag.gov
         State of South Carolina Attorney General           Attn: Bankruptcy Department              info@scattorneygeneral.com 
         State of Texas Attorney General                    Attn: Bankruptcy Department              public.information@oag.state.tx.us
                                                            Wisconsin Department of 
         State of Wisconsin Consumer Bureau of              Agriculture, Trade and Consumer 
         Consumer Protection                                Protection                               datcphotline@wi.gov




In re: J & M Sales Inc., et al.
Case No. 18‐11801 (LSS)                                             Page 2 of 2
